Case: 1:19-cv-04649 Document #: 1 Filed: 07/10/19 Page 1 of 6 PagelD #:1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

Meghan Faxel, and )
Mike Faxel, ) No.:
)
Plaintiffs, )
)
V. )
)
Wilderness Hotel & Resort, Inc. ) COMPLAINT AND DEMAND
d/b/a Wilderness Resort, ) FOR JURY TRIAL
)
Defendant. )
)
)
)
COMPLAINT AT LAW

 

NOW COME the Plaintiffs, MEGHAN FAXEL and MIKE FAXEL, by their attorneys,

PARENTE & NOREM, P.C., and hereby allege the following as their Complaint at Law:
PARTIES

MEGHAN FAXEL and MIKE FAXEL, are both adult residents of the State of Illinois,
City of New Lenox, currently residing at 923 Karen Lane, New Lenox, Illinois 60451.

Upon information and belief, defendant WILDERNESS HOTEL & RESORT, INC., d/b/a
WILDERNESS RESORT, (hereinafter referred to simply as “WILDERNESS”), is a foreign
corporation, doing substantial business in the State of Illinois, whose principal place of business
is located at 511 East Adams Street, Wisconsin Dells, Wisconsin, 53965.

JURISDICTION AND VENUE
This court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C.§1332(a)(1) because the plaintiff is a citizen of Illinois and the corporate Defendant is
Case: 1:19-cv-04649 Document #: 1 Filed: 07/10/19 Page 2 of 6 PagelD #:1

COUNT I
PREMISES LIABILITY

That at all times relevant, Defendant WILDERNESS, had a duty to operate, manage,

maintain, and control its premises with ordinary and reasonable care so as to not cause injury to

those lawfully thereon, including Plaintiff.

That at the aforementioned time and place, and notwithstanding the aforesaid duty,

Defendant then and there carelessly and negligently did, or failed to do, one or more of the

following acts and/or omissions, breaching its duty/duties to Plaintiff:

a.

Failed to maintain its water ride to provide necessary water flow to move all
approved riders through the ride to its conclusion in a safe manner;

Failed to maintain its water ride so that riders, like Plaintiff, would not get stuck
in a dangerous position on its ride;

Failed to maintain or otherwise select its inflatable tubes to ensure they would
allow riders, including Plaintiff, to safely proceed through its water ride;

Failed to maintain and inspect the water ride to make sure it was in proper
working order;

Failed to shut down the ride for necessary maintenance when the ride was not
functioning properly;

Failed to stop riders from getting on the ride when it knew or should have
known it was not operating properly;

Failed to warn riders that they could get stuck in a dangerous manner on the
ride even if they were approved by employees to ride;

That as a direct and proximate result of one or more of the aforementioned acts and/or

omissions by Defendant WILDERNESS, Plaintiff, MEGHAN FAXEL suffered multiple injuries,
Case: 1:19-cv-04649 Document #: 1 Filed: 07/10/19 Page 3 of 6 PagelD #:1

incorporated in Wisconsin, and the amount in controversy between the parties exceeds the sum of
$75,000.00, exclusive of interest and costs.

This Court has personal jurisdiction over the Defendant because, at all times material
hereto, it transacted significant business in the State of Illinois.

Venue is proper in the judicial district pursuant to 28 U.S.C.§1369 because a substantial
part of the events giving rise to the Plaintiffs claims occurred in this district.

FACTS COMMON TO ALL CLAIMS

That on or before August 18", 2016, the Defendant was doing business as a resort
containing an indoor water park at its location at 511 East Adams Street, Wisconsin Dells,
Wisconsin, 53965.

That on the aforesaid date and at the aforesaid location, Plaintiff Meghan Faxel, was then
and there lawfully upon said premises and was specifically utilizing the indoor waterpark located
thereon with her family and also friends who were all guests of the resort.

She was approved by certain employees, believed to be Wilderness staff members within
the water park, to get in line for and ride a certain water ride that has a toilet-bowl type appearance
and upon riding said ride, while seated as instructed on an inflatable tube provided to her by the
Defendant, became stuck in the whirlpool portion of the ride on what may be described as the
upper edge of the bowl structure portion of the ride. At this time and location, the water flow
failed to dislodge her and move her onward in said ride. She remained stuck for a period of time
and was then was caused to flip over sustaining severe injury, specifically fracturing her clavicle
in such a manner as to necessitate multiple surgeries and additional care which was received in

Illinois.
Case: 1:19-cv-04649 Document #: 1 Filed: 07/10/19 Page 4 of 6 PagelD #:1

both internally and externally, of a personal and pecuniary nature, which caused pain in body and

mind, which are continuing in nature.

COUNT HT
NEGLIGENCE

That at all times relevant, Defendant WILDERNESS, had a duty to design and operate its

water park with ordinary and reasonable care so as to not cause injury to those thereon, including

Plaintiff.

That at the aforementioned time and place, and notwithstanding the aforesaid duty,

Defendant then and there carelessly and negligently did, or failed to do, one or more of the

following acts and/or omissions, breaching its duty:

a.

Operated a water ride that did not have adequate water flow to support the safe
movement and progression through the ride of Plaintiff;

Approved Plaintiff to utilize an inflatable tube that was not fit for the particular
ride;

Allowed Plaintiff to proceed on the water ride when it should not have due to
the condition of the ride;

Failed to instruct riders, including Plaintiff, as to what actions to take or not
take in the event that they become stuck on the ride;

Failed to shut down the ride for necessary maintenance when the ride was not
functioning properly;

Failed to stop Plaintiff from getting on the ride when it knew or should have
known it was not operating properly;

Failed to warn riders, including Plaintiff, that they could get stuck in a
dangerous manner on the ride even if they were approved by employees to ride;

Designed a ride that allowed riders to become stuck in an unsafe position;

Designed, planned and constructed a ride that was unsafe for riders as they
could become stuck in an unsafe position.
Case: 1:19-cv-04649 Document #: 1 Filed: 07/10/19 Page 5 of 6 PagelD #:1

j. Operated the ride when it was unsafe to do so, allowing Plaintiff to ride and
become stuck;

That as a direct and proximate result of one or more of the aforementioned acts and/or
omissions by Defendant WILDERNESS, Plaintiff, MEGHAN FAXEL suffered multiple injuries,
both internally and externally, of a personal and pecuniary nature, which caused pain in body and
mind, which are continuing in nature.

COUNT U1
LOSS OF CONSORTIUM

That the Plaintiff MIKE FAXEL is, and at all relevant times mentioned herein, remains the
lawful spouse of the Plaintiff MEGHAN FAXEL, and was co-habiting with her and enjoying her

companionship and care.

That the Plaintiff MIKE FAXEL re-alleges and re-states all allegations contained in the

aforementioned Counts I and II, as though fully stated herein.

That because of the injury and as a proximate result of the wrongful acts of the Defendant
WILDERNESS, the Plaintiff MIKE FAXEL has suffered loss of services of his spouse, which

prior to his injuries were of great value to him.

That Plaintiff MIKE FAXEL has also been deprived of his spouse's affection,

companionship, and consortium.
Case: 1:19-cv-04649 Document #: 1 Filed: 07/10/19 Page 6 of 6 PagelD #:1

PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs, MEGHAN FAXEL and MIKE FAXEL pray for the

following relief:

A. Judgment in favor of Plaintiff and against the Defendant, for damages in such
amounts as may be proven at trial in excess of $75,000.00;

B. Compensation for both economic and non-economic losses, including but not
limited to medical expenses, loss of earnings, disfigurement, pain and suffering,
loss of enjoyment of life, loss of consortium, mental and emotional distress, in such
amounts as may be proven at trial;

C. Attorney fees and costs;
Pre- and post-judgment interest as may be appropriate; and

E. Any and all further relief, both legal and equitable, that the Court may deem just
and proper.

PLEASE TAKE NOTICE THAT THE PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY
IN THE ABOVE MATTER.

“Amanda M. Martin

 

IL ARDC# 6275447

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